      .,                     Case 4:19-cr-00574-BRW Document 40 Filed 09/23/21 Page 1 of 7
    AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                           Sheet I
l;f:'fVl=lrg                                    :,   ;   _:.   : ~-~- :· ;~: ~- ~-
~.dM;F/t~1t::. .,..                         ·. ·;~UNIT-ED.,S TATES DISTRICT.COURT
                                                                                 Eastern District of Arkansas
                                                                                                 )
                  UNITED STATES OF AMERICA                                                       )
                                       v.                                                        )
                      FRANK LEE GARRISON, Ill                                                    )
                                                                                                 )       Case Number: 4:19CR00574-01 BRW
                                                                                                 )       USM Number: 32994-009
                                                                                                 )
                                                                                                 )        Marjorie Rogers
                                                                                                 )       Defendant's Attorney
    THE DEFENDANT:
    ~ pleaded guilty to count(s)            2
    0 pleaded nolo contendere to count(s)
       which was accepted by the court.
    0 was found guilty on count(s)
       after a plea of not guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section                   Nature of Offense                                                                           Offense Ended
    21 U.S.C. § 841 (a}(1}            Possession with Intent to Distribute Methamphetamine,                                       1/31/2019       2
    and (b}(1 }(B}                    a Class B Felony



           The defendant is sentenced as provided in pages 2 through                            _ _7_ _ of this judgment. The sentence is imposed pursuant to
    the Sentencing Refonn Act of 1984.
    0 The defendant has been found not guilty on count(s)
    Iii Count(s) -1 -
                    & 3
                      ----------
                                 0                                                   is   ~ are dismissed on the motion of the United States.

             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan~e ofname, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
    the defenciant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                                 9/22/2021
                                                                                                Date of Imposition of Judgment




                                                                                                            BILLY ROY WILSON, U.S. DISTRICT JUDGE
                                                                                               Name and Title of Judge



                                                                                               Date
  ...                      Case 4:19-cr-00574-BRW Document 40 Filed 09/23/21 Page 2 of 7
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page   -=2-   of   7
DEFENDANT: FRANK LEE GARRISON, Ill
CASE NUMBER: 4:19CR00574-01 BRW

                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total tenn of:
 84 months.




        ~ The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends you participate in residential substance abuse treatment, mental health counseling, and
          educational and vocational programs during incarceration.




        !ill   The defendant is remanded to the custody of the United States Marshal.

        D The defendant shall surrender to the United States Marshal for this district:
               D at    -----------
                                                    D a.m.       D p.m.       on
               D as notified by the United States Marshal.

        D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               D before 2 p.m. on       -~----------------
               •   as notified by the United States Marshal.
               D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




               Defendant delivered on                                                     to

 at     _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                             By
                                                                                               DEPUTY UNITED STATES MARSHAL
                          Case 4:19-cr-00574-BRW Document 40 Filed 09/23/21 Page 3 of 7
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3          7__
                                                                                                                               of ___
DEFENDANT: FRANK LEE GARRISON, Ill
CASE NUMBER: 4:19CR00574-01 BRW
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 4 years.




                                                      MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              0 The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.     0 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     0 You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                Judgment-Page         4
                                                                                                                 ----'---- 0   r          1
                                                                                                                                   ------''----
DEFENDANT: FRANK LEE GARRISON, Ill
CASE NUMBER: 4:19CR00574-01 BRW

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least IO
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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                       Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                             Judgment-Page     5     of -----"7_ _
DEFENDANT: FRANK LEE GARRISON, Ill
CASE NUMBER: 4:19CR00574-01 BRW

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must participate in a mental health treatment program under the guidance and supervision of the probation office.
 You must pay for the cost of treatment at the rate of $1 0 per session, with the total cost not to exceed $40 per month,
 based on ability to pay as determined by the probation office. If you are financially unable to pay for the cost of treatment,
 the co-pay requirement will be waived.

 2. You must participate in a substance abuse treatment program under the guidance and supervision of the probation
 office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment. You must
 abstain from the use of alcohol during supervision. You must pay for the cost of treatment at the rate of $10 per session,
 with the cost not to exceed $40 per month, based on ability to pay as determined by the probation office. If you are
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 3. You must disclose your substance abuse history to prescribing physicians and allow the probation office to verify
 disclosure.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page   --=---   of
 DEFENDANT: FRANK LEE GARRISON, Ill
 CASE NUMBER: 4:19CR00574-01 BRW
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment             Restitution                 Fine                AV AA Assessment*          JVTA Assessment**
 TOTALS           S 100.00                  S 0.00                   S 0.00                  S 0.00                    S 0.00


 D The detennination of restitution is deferred until          ----
                                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless s~cified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***                 Restitution Ordered       Priority or Percentage




 TOTALS                               $ ______                  o_._oo_          $______              o_.o_o_

 D     Restitution amount ordered pursuant to plea agreement $
                                                                          ----------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the            D fine       D restitution.
       D the interest requirement for the           D fine       D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking A.ct of2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, I 10, I IOA, and I I3A of Title I 8 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                       Judgment   a Criminal Case             Document 40 Filed 09/23/21 Page 7 of 7
                       Sheet 6 - Schedule of Payments

                                                                                                          Judgment -   Page   _7~_    of      7
DEFENDANT: FRANK LEE GARRISON, Ill
CASE NUMBER: 4:19CR00574-01 BRW


                                                  SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    Ill   Lump sum payment of$       100.00                due immediately, balance due

            D     not later than                                 , or
            O     in accordance with D C,       D D,         D    E,or     D Fbelow; or
 B    D Payment to begin immediately (may be combined with               O C,        D D, or      D F below); or
C     D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $               over a period of
                          (e.g.. months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D    O Payment in equal          _ _ _ _ _ (e.g., weekly, monthly. quarterly) installments of $ _ _ _ over a period of
                          (e.g.. months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     O Payment during the term of supervised release will commence within _____ (e.g.,            30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!ary penalties is due during
the period of imprisonment. All criminal monetary penallies, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several                 Co~sponding_ Payee,
      (including defendant number)                       Total Amount                      Amount                          tf appropnate




0     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
